 8:13-cr-00380-JFB-MDN           Doc # 34   Filed: 04/07/14   Page 1 of 1 - Page ID # 61




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                  8:10CR354
                                                                8:13CR380
      vs.
                                                                 ORDER
CHARLES TOLES,

                    Defendant.

       The court has been presented a Financial Affidavit (CJA Form 23) signed by the
above-named defendant in support of a request for appointed counsel. After a review of
the Financial Affidavit, I find that the above-named defendant is eligible for appointment
of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended
Criminal Justice Act Plan for the District of Nebraska.

       IT IS ORDERED that William J. Pfeffer is appointed as attorney of record for the
above-named defendant in this matter and shall forthwith file an appearance in this
matter.

       IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall
forthwith provide counsel with a draft appointment order (CJA Form 20) bearing the
name and other identifying information of the CJA Panel attorney identified in
accordance with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
the Federal Public Defender for the District of Nebraska and William J. Pfeffer.

      DATED this 7th day of April, 2014.

                                            BY THE COURT:

                                            s/ Thomas D. Thalken
                                            United States Magistrate Judge
